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 8
                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
10
     WILLARD BAKEMAN                            ) Case No. 13-CV-02807 JLS JLB
11                                              )
                                                )
12
                        Plaintiff,              )
                                                ) JOINT MOTION TO DISMISS
13
           vs.                                  )
                                                )
14
     NAVIENT SOLUTIONS, INC., f/k/a             )
                                                )
15   SALLIE MAE, INC., COMPANY,                 )
     DOES 1-10                                  )
16                                              )
                                                )
17                                              )
                        Defendants.             )
18                                              )
                                                )
19

20         Plaintiff, Willard Bakeman, and Defendant Navient Solutions, Inc. f/k/a
21
     Sallie Mae, Inc., by and through undersigned counsel, hereby jointly move the
22

23   Court to dismiss the above-captioned action in its entirety with prejudice.
24
     ///
25

26
     ///
27   ///
28



                                       Joint Motion to Dismiss
                                                  1
     Case 3:13-cv-02807-JLS-JLB Document 42 Filed 11/11/14 PageID.200 Page 2 of 2



 1
     Dated: 11/11/14                AMERICAN SOCIAL JUSTICE MOVEMENT
 2
                                    /s/Willard Bakeman
 3
                                    Willard Bakeman
 4                                  Plaintiff
 5

 6
     Dated: 11/11/14                SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 7
                                   /s/Debbie P. Kirkpatrick
 8
                                    Debbie P. Kirkpatrick
 9                                  Attorneys for Defendant
10
                                    Navient Solutions, Inc.

11

12

13
                            SIGNATURE CERTIFICATION
14

15
             Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative

16   Policies and Procedures Manual, I hereby certify that the content of this document
17
     is acceptable to Willard Bakeman, Plaintiff, and that I have obtained Mr.
18

19   Bakeman’s approval of his electronic signature to this document.
20
     Dated: 11/11/14                SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
21
                                    /s/Debbie P. Kirkpatrick
22                                  Debbie P. Kirkpatrick
23
                                    Attorneys for Defendant
                                    Navient Solutions, Inc.
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                                      Joint Motion to Dismiss
                                                 2
